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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         21-cr-80054-Rosenberg/Reinhart
                                 Case N o . · - - - - - - - - ~ ~ - -
                                             18 U.S.C. § 2421(a)


  UNITED STATES OF AMERICA

  vs.

  MIGUEL ANTONIO BERLINGERI JANER,

       Defendant.
   _ _ _ _ _ _ _ _ _ _ _ _ _ ___,!


                                              INFORMATION

               The United States Attorney charges that:

                                                  COUNTl

               From on or about April 30, 2017, and continuing to on or about May 5, 2017, in Palm

  Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                               MIGUEL ANTONIO BERLINGERI JANER,

  knowingly transported Victim 1 in interstate commerce, from the Southern District of Florida to

  the Western District of North Carolina, with intent that Victim 1 engage in prostitution and sexual

   activity for which a person can be charged with a criminal offense, and aided and abetted such

   conduct, in violation of Title 18, United States Code, Sections 2421(a) and 2.


                                                  COUNT2

               From on or about March 14, 2017, and continuing to on or about March 17, 2017, in Palm

   Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                               MIGUEL ANTONIO BERLINGERI JANER,
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    - ,


   knowingly transported Victim 2 in interstate commerce, from the Southern District of Florida to

  the District of Colorado, with intent that Victim 2 engage in prostitution and sexual activity for

  which a person can be charged with a criminal offense, and aided and abetted such conduct, in

  violation of Title 18, United States Code, Sections 242l(a) and 2.




  UNITED STATES ATTORNEY




  ASSISTANT UNITED STATES ATTORNEY
     Case 9:21-cr-80054-RLR Document 1 Entered on FLSD Docket 04/02/2021 Page 3 of 5
                                                        UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF FLORIDA
     •    _,..    ·'.l

                                                                                  21-cr-80054-Rosenberg/Reinhart
UNITED STATES OF AMERICA                                            CASE NO . _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    v.
                                                                    CERTIFICATE OF TRIAL ATTORNEY*
MIGUEL ANTONIO BERLINGERI JANER,
                                                                    Superseding Case Information:
                                        Defendant.

Court Division: (Select One)                                        New defendant(s)            Yes      No
_         Miami _                    KeyWest                        Number of new cfefendants
          FTL             I          WPB             FTP            Total number of counts

           I.            I have carefully considered the allegations of the indictment, the number of defendants, the number of
                         probable witnesses and the legal complexities of the Indictment/Information attached hereto.
          2.             I am aware that the information supplied on this statement will be relied upon by the Judges of this
                         Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                         Act, Title 28 U.S.C. Section 3161.
          3.             Interpreter:    (Yes or No)           No
                         List language and/or dialect
          4.             This case will take _O_ days for the parties to try.
          5.             Please check appropriate category and type of offense listed below:

                         (Check only one)                                   (Check only one)


          I              0 to 5 days                       ✓
                                                                            Petty
          II             6 to 10 days                                       Minor
          III            11 to 20 days                                      Misdem.
          IV             21 to 60 days                                      Felony              ✓

          V              61 days and over
          6.       Has this case previously been filed in this District Court?        (Yes or No)  _N_o_ _
           If yes: Judge                                     Case No.
           (Attach copy of dispositive order)                           --------------
           Has a complaint been filed in this matter?         (Yes or No)
           If yes: Magistrate Case No.
           Related miscellaneous numbers:                    ~1~7--C=R=-8~0~1=0~7~-D=M=M~------------
           Defendant(s) in federal custody as of               June 6. 2017 from case number 17-CR-80107-DMM
           Defendant(s) in state custody as of
           Rule 20 from the District of
                 Is this a potential death penalty case? (Yes or No)

           7.            Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                         prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No '

          8.             Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                         prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes             No 1

           9.            Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                         prior to October 3, 2019 (Mag. Judge Jared Strauss)?             Yes             No _ 1 _
                                                                                ~
                                                                            GR~HILLER
                                                                                                s~
                                                                            ASSISTANT UNITED STATES ATTORNEY
    *Penalty Sheet(s) attached                                               FL Bar No. 0648477                     REv,1,12020
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

   Defendant's Name:     MIGUEL ANTONIO BERLINGERI JANER

   Case No:       21-cr-80054-Rosenberg/Reinhart
              ---------------------


   Counts#: 1-2

   Transporting a Person to Engage in Prostitution (Mann Act)

   Title 18, United States Code, Section 242l(a)

   *Max. Penalty: 10 Years' Imprisonment, $250,000 fine, Supervised Release of5 Years to
   Life, $5000 Special Assessment, $100 Assessment, Restitution




    *Refers only to possible term of incarceration, fines, special assessments, does not include
   possible restitution, parole terms, or forfeitures that may be applicable.
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AO 455 (Rev. 01/09) Waiver of an Indictment


                                        UNITED STATES DISTRICT COURT
                                                             for the
                                                  Southern District of Florida

                     United States of America                  )
                                   v.                          )       Case No. 21-cr-80054-Rosenberg/Reinhart
         MIGUEL ANTONIO BERLINGERI JANER,                      )
                                                               )
                            Defendant                          )

                                                WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date: - - - - - - - -
                                                                                        Defendant's signature




                                                                                  Signature ofdefendant's attorney

                                                                                      M. Caroline Mccrae
                                                                                 Printed name ofdefendant's attorney




                                                                                          Judge's signature



                                                                                    Judge's printed name and title
